               Case 4:21-cr-06021-SMJ               ECF No. 3         filed 05/26/21     PageID.5 Page 1 of 1


                                                CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   RYAN LEE EMERSON                CASE NO.                                    4:21-CR-6021-SMJ-1
                                                                                              ______________________
                                                                                                                FILED IN THE
                                                                                                            U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF WASHINGTON
                                                     ✔
                                     4
                 TOTAL # OF COUNTS: _______       _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE
                                                                                                       May 26, 2021
                                                                                                           SEAN F. MCAVOY, CLERK




Count             Statute                    Description of Offense                                    Penalty
                                                                             CAG not less than 10 years nor more than life; and/or
                                                                             $10,000,000 fine;
                                                                             not less than 5 years nor more than life supervised release;
        21 U.S.C. § 841(a)(1), (b) Possession with Intent to Distribute 50
 1,4                                                                         a $100 special penalty assessment; and
        (1)(A)(viii)               Grams Pure/Actual Methamphetamine
                                                                             denial of certain federal benefits pursuant to 21 U.S.C. §§
                                                                             862 and 862a

                                                                             CAG not more than 20 years;
                                                                              and/or $1,000,000 fine;
                                                                             not less than 3 years nor more than life supervised release;
        21 U.S.C. § 841(a)(1), (b) Possession with Intent to Distribute
 2,3                                                                         a $100 special penalty assessment; and
        (1)(C)                     Fentanyl
                                                                             denial of certain federal benefits pursuant to 21 U.S.C. §§
                                                                             862 and 862a



        21 U.S.C. § 853            Forfeiture Allegation
